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                  UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF CALIFORNIA
                  THE HONORABLE MORRISON C. ENGLAND, JR.




UNITED STATES OF AMERICA,                             Case No. 2:15-cr-00190-MCE-04

               Plaintiff,

      v.                                              ORDER FOR RELEASE OF
                                                      PERSON IN CUSTODY
LAURA MARIE PEZZI,

           Defendant.
______________________________/



TO: BUREAU OF PRISONS AND THE UNITED STATES MARSHAL SERVICE

This is to authorize and direct you to release LAURA MARIE PEZZI in case number
2:15-cr-00190-MCE-04, from custody for the following reason(s):

           Release on Personal Recognizance
           Bail Posted in the Sum of $
           Unsecured Appearance Bond
           Appearance Bond with 10% Deposit
           Appearance Bond with Surety
           Corporate Surety Bail Bond
 X         OTHER:
           Pursuant to the Court’s 10/16/2020 Order GRANTING Defendant
           Laura Marie Pezzi’s Motion to Vacate and/or Reduce Sentence (ECF No. 617).

Issued at Sacramento, California on October 16, 2020, at 12:07 p.m.


Dated: October 16, 2020
